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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION


UNITED STATES OF AMERICA                       )

vs.                                            )   CR. NO. 3:05cr234-WHA

TYRONE WHITE                                   )


                                          ORDER

       No timely objection having been filed to the Recommendation of the Magistrate Judge

(Doc. #135), entered on March 7, 2006, the court adopts the Recommendation, and it is hereby

       ORDERED that Defendant’s Motion to Dismiss and for Sanctions (Doc. #39) is

DENIED.

       DONE this 22nd day of March, 2006.



                                           /s/ W. Harold Albritton
                                           W. HAROLD ALBRITTON
                                           SENIOR UNITED STATES DISTRICT JUDGE
